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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION
UNITED STATES OF AMERICA, Case No. 6:24-mj-2118-DCI
Plaintiff, O
Government x] 1 Evidentiary
0) Trial
XX} Other
V.
MICHAEL SCHEUER
Defendant L
EXHIBIT LIST
Exhibit Date Date Sponsoring Witness Objections/ Description of Exhibit
Number Identified Admitted Stipulated
Admissions!
1 \\ \5 \ 14 Screenshot of defendant’s
| virtual computer desktop
ier
2 Screenshot of contents of
“dox” folder
3 Template of threat letter
4 Email chain (beginning
10/21/24), and attachment

Video of Ring doorbell
camera footage

Email chain (beginning
10/22/24)

1 Type “A” in this column to identify exhibits to be received in evidence by agreement without objection. Otherwise, specifically
state each objection to each opposed exhibit. Please note that each date box on the left must be one inch wide to accommodate
the Clerk’s date stamp.
Case 6:25-cr-00005-JSS-DCI Document 23 Filed 11/05/24 Page 2 of 2 PagelD 54

Case No.: Page 2 of 2 Pages

EXHIBIT LIST - Continuation Sheet

Exhibit Date Date Sponsoring Witness Objections/ Description of Exhibit
Number Identified Admitted Stipulated
Admissions!
7 Petition for Injunction
\\ | e \4 if Against Stalking, filed by
Victim AG, in Orange
\6 24

County Circuit Court

against Stalking, filed by
Victim DP, in Osceola
County Circuit Court

8 of Petition for Injunction

